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                    JOSHUA JAMES
                                                                                     22-cr-15-5 (APM)

                                                                                     33761-509

                                                                      Christopher Leibig and Joan Robin



                             1 and 3 of the Indictment filed on 1/12/2022




18:2384                    Conspiracy                                                      1/6/2021               1

18:1512(c)(2), 2           Obstruction of an Official Proceeding and Aiding and Abetting 1/6/2021                 3



                                                                  6




              All remaining counts




                                                                                         12/20/2024




                                                                               Amit P. Mehta, US District Judge
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                                                                                                  2   6
               JOSHUA JAMES
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Thirty-six (36) months as to Counts 1 and 3, with both Counts to run concurrently.
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                                                               3       6
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                 JOSHUA JAMES
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Residential Reentry Center - You must reside in a residential reentry center for the first six (6) months of supervision. You
must follow the rules and regulations of the center.

Location Monitoring - Immediately following release from the Residential Reentry Center, you will be monitored by the form
of location monitoring technology indicated herein for a period of six (6) months, and you must follow the rules and
regulations of the location monitoring program. The cost of the program is waived. Location monitoring technology at the
discretion of the probation officer, including: Radio Frequency (RF) Monitoring; GPS Monitoring (including hybrid GPS);
SmartLINK; or Voice Recognition This form of location monitoring technology will be used to monitor the following
restriction on your movement in the community: You are restricted to your residence at all times except for employment;
education; religious services; medical, substance abuse, or mental health treatment; attorney visits; court appearances;
court-ordered obligations; or other activities as pre-approved by the officer (Home Detention).

Substance Abuse Treatment -You must participate in an inpatient and/or outpatient substance abuse treatment program
and follow the rules and regulations of that program. The probation officer will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.).

Mental Health Treatment - You must participate in a mental health treatment program specifically for veterans and follow
the rules and regulations of that program. The probation officer, in consultation with the treatment provider, will supervise
your participation in the program (provider, location, modality, duration, intensity, etc.).

Financial Information Disclosure - You must provide the probation officer access to any requested financial information and
authorize the release of any financial information. The probation office may share financial information with the United
States Attorney's Office.

Financial Restrictions - You must not incur new credit charges, or open additional lines of credit
without the approval of the probation officer.

Location Restriction - You must not knowingly enter the United States Capitol Building or onto surrounding grounds known
as Capitol Square and consisting of the square block bounded by Constitution Avenue, NW and NE, to First Street, NE and
SE, to Independence Avenue, SE and SW, to First Street, SW and NW, comprising the property under any circumstances,
without first obtaining the permission of the probation officer and/or the Court.

Location Restriction - You must not knowingly enter the District of Columbia without first obtaining the permission of the
probation officer and/or the Court.

Restitution Obligation - You must pay the balance of the restitution owed at a rate of no less than $50 a month for the first
six (6) months of supervision. Thereafter, you must pay the balance at a rate of no less than $100 a month.

This Court will maintain jurisdiction of the case but authorizes the transfer of supervision to your District of residence.
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                                                                                             5      6
                 JOSHUA JAMES
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                 200.00                 2,000.00




Clerk of the Court for the United States

District Court, District of Columbia, for
disbursement to the following victim:



Architect of the Capitol                                                         $2,000.00

Office of the Chief Financial Officer
Ford House Office Building, Room H2-205B

Washington, DC 20515




                                                   0.00                    2,000.00


                                                          2,000.00
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                                                                                                    6   6
       JOSHUA JAMES
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                        2,200.00




The financial obligations are immediately payable to the Clerk of the Court for the U.S. District
Court, 333 Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of
address, you shall notify the Clerk of the Court of the change until such time as the financial
obligation is paid in full. See Special Conditions on page 4 for restitution payments.
